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 1                                                 JUDGE RONALD B. LEIGHTON
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 5                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 6                                      AT TACOMA
 7
     UNITED STATES OF AMERICA,              )     NO. CR 06-5503RBL
 8                                          )
                     Plaintiff,             )     ORDER SEALING DEFENDANT’S
 9                                          )     SENTENCING MEMORANDUM
                     vs.                    )
10                                          )
     PHILL JOO AM KIM,                      )
11                                          )
                     Defendant.             )
12                                          )
13
            The Court having considered the Motion for Order Sealing Defendant’s
14
     Sentencing Memorandum and attachments thereto,
15
            NOW THEREFORE IT IS HEREBY ORDERED that the Defendant’s
16
     Sentencing Memorandum and attachments thereto, are to be sealed.
17



                                            A
18          IT IS SO ORDERED this 5th day of February, 2007.
19
                                            RONALD B. LEIGHTON
20                                          UNITED STATES DISTRICT JUDGE
     Presented by:
21
     /s______________________
22 Jerome Kuh
     Attorney for Defendant
23

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                                                                    FEDERAL PUBLIC DEFENDER
                                                                               1331 Broadway , Suite 400
                                                                             Tacoma, Washington 98402
     ORDER SEALING – page 1                                                              (253) 593-6710
